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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

RILEY CATTLE FARM, LLC
d/b/a CITY FEED & SUPPLY                                                    PLAINTIFF

v.                                    Case No. 2:22-cv-00021-JM

CIT BANK, et al.                                                            DEFENDANTS

                                             ORDER

       Pending are the parties’ joint motion to dissolve the existing temporary restraining order

(Doc. No. 17) and stipulation of dismissal with prejudice (Doc. 18). The motion to dissolve is

granted, and all claims are dismissed with prejudice, with each party to bear its own costs,

expenses, and attorneys’ fees.

       Dated this 24th day of June, 2022.



                                      ____________________________________
                                      UNITED STATES DISTRICT JUDGE
